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                                              UNITED STATES DISTRICT COURT
                                               FOR THE DISTRICT 0F OREGON

      UNITED STATES OF AMERICA                                                                                    ORDER SETTING CONDITIONS
                   v.                                                                                                           OF RELEASE

      Joseph Dibee                                                                                                   Case Number: 6:06CR60011 AA 01


  IT IS ORDERED that the release of the defendant is subject to the following conditions:

  (1)            The defendant shall not commit any offense in violation offederal, state or local law while on release in this case.

  (2)            The defendant must cooperate in the collection ofa DNA sample if the collection is authorized by 42 U.S.C § 14135a.

  (3)            The defendant shall immediately advise the court throughpretrial services or defense counsel in writing of any change in
                address and telephone number.

  (4)           The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as directed.
                The defendant shall next appear as directed by U.S. District Court.

                                                           Additional Conditions of Release

  IT IS FtJRRER ORDERED that the defendant be released provided that the defendant:

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 ))             advancebypretrial services.                                  .   h.. , n    .         ___, __:1 _ _1_i_____._LL_ il__I_:-I c`^-.: ---. I-A+
            •   Surrender any passport or international travel documents to pretrial services or submit a statement to pretrial services that
 P              the defendant does not possess a passport or international travel documents. The defendant is not to apply for a new passport
                or international travel documents.
`??     .       The defendant shall be monitored by the fom of location monitoring indicated below and shall abide by all technology
                 requirements. The participant shall pay all or part of the costs of participation in the location monitoring program as directed
                 by the court and/or the pretrial services officer.
                ( ) Radio Frequency a`F) Monitoring
                ® Active GPS Monitoring (including hybrid GPS)

                This form of location monitoring technology shall be utilized to monitor the following location restriction:

                ( ) Curfew. You are restricted to your residence every day ( ) from _ to _ or ( ) as directed by the supervising officer.
                ex) Home Detention. You are restricted to your residence at all times except for employment; education; religious
                services; medical, substance abuse, or mental health treatment, attorney visits; cou].t appearances; court-ordered
                obligations; or other activities as pre-approved by the pretrial services ofricer.
                 ( ) Home Incarceration. You are restricted to your residence at all times expect for medical necessities and court appearances
                 or other activities specifically approved by the court.
                 ( ) NO Location Restriction.
Jny         .    Permitpretrial services to install monitoring software on any computer within the defendant's possession or control that
                 allows random or regular monitoring of the defendant's cell phone and computer use. Pretrial Services will also be allowed
                 periodic inspection of any such computer including retrieval, copying and review of its electronic contents. The defendant
                 must maintain an android based cell phone while computer monitoring is required.
            •    The defendant shall not be released from custody until a negative covID test is produced.
            •    Per the request of the court, the District of oregon will maintain supervision of this case.
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                                                       Advice of penalties and Sanctions

TO TIE DEFENDANT:

         YOU ARE ADVISED OF TIIE FOLLOWING PENALTIES AND SANCTIONS:

          A violation of any of the foregoing conditions of release may result in the inmediate issuance of a warrant for your arrest, a revocation of
release, an order of detention, forfeiture of bond, and a prosecution for contempt of court and could result in a term of imprisonment, a fine, or both.

          The commission of any crine while on pre-trial release may result in an additional sentence to a term of imprisonment of not more than ten
years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a misdemeanor.   This sentence shall be in
addition to any other sentence.

         Federal law makes it a crine punishable by up to ten years of imprisonment, and a $250,000 fine or both to intimidate or attempt to
intimidate a witness, victim, juror, infomant or officer of the court, or to obstruct a criminal investigation. It is also a crime punishable by up to ten
years of imprisonment, a $250,000 fine or both, to tamper with a witness, victim or infomant, or to retaliate against a witness, victim or informant, or
to threaten or attempt to do so.

         If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence, you may
be prosecuted for failing to appear or surender and additional punishment may be imposed. If you are convicted of:

(I)        an offense punishable by death, life imprisonment, or imprisonment for a term offifteen years or more, you shall be fined not more than
          $250,000 or imprisoned for no more than ten years, or both;

(2)        an offense punishable by imprisonment for a ten offive years or more, but less than fifteen years, you shall be fined not more than
          $250,000 or imprisoned for no more than five years, or both;

(3)        any other felony, you shall be fined not more than $250,000 or imprisoned no more than two years, or both;

(4)        a misdemeanor, you shall be fined not more than $100,000 or inprisoned not more than one year, or both;

           A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. In addition, a
failure to appear may result in the forfeiture of any bond posted.

                                                           Acknowledgment of Defendant

           I acknowledge that I am the defendant in this case and that I an aware of the conditions of release. I promise to obey all conditions of
release, to appear as directed, and to surrender for service of any sentence imposed. I an aware of the penalties and san.ctions set forth above.




                                                                                                               City, State & Zip




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Special Needs Finding:
Based upon the above conditions, including the conditions relating to:
I       Alcohol detection
I       Drug detection
I       Computer monitoring
The Court is reasonably assured the defendantwill appear as directed and not pose a danger to the community or any other person.

Directions to the United States Marshal
I       The defendant is ORDERED released after processing.
I       The defendant is ORDERED temporarily released.
B        The United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk, Pretrial Services or
         judicial officer that the defendant has posted bond and/or complied with all other conditions for release including space
         availability at a community corrections center or residential treatment facility. If still in custody, the defendant shall be
         produced before the duty Magistrate Judge on                                       at


Date:   January 11. 2021

                                                                                                 /s/Arm Aiken
                                                                                         Signature of Judicial Officer
                                                                                                   Am Aiken
                                                                                          Senior U.S. District Judge

                                                                                      Name and Title of Judicial Officer




cc :     D efendant
         US Attorney
         US Marshal
         Pretrial Services




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